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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New   York
                                                                         __________

                                                                 )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No.
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           BRENNA B. MAHONEY
                                                                           CLERK OF COURT


Date:      3/20/2024
                                                                                      Signature of Clerk or Deputy Clerk
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                        RIDER TO SUMMONS IN A CIVIL ACTION
The following are the names and addresses of the defendants for the Summons in a Civil Action



                   AKWAABA PROPERTIES INC.
                   C/O MONIQUE GREENWOOD
                   347 MACDONOUGH STREET
                   BROOKLYN, NY, UNITED STATES, 11233



                   BROOKLYN TEA SELLER INC.
                   ALFONSO WRIGHT
                   524 NOSTRAND AVENUE
                   BROOKLYN, NY, UNITED STATES, 11216
